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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-60700-CV-GAYLES/SELTZER

   VERDEX CONSTRUCTION, LLC,

                          Plaintiffs,

   v.

   GREAT AMERICAN INSURANCE
   COMPANY,

                          Defendant.

  ___________________________________/

                                               ORDER

         THIS CAUSE comes before the Court on Plaintiff’s Motion for Summary Judgment [ECF

  No. 10] and Defendant’s Motion to Stay Proceedings Pending Disposition of Parallel State Court

  Proceedings [ECF No. 39]. The Court referred all pretrial matters to Magistrate Judge Seltzer

  pursuant to 28 U.S.C. § 636 [ECF No. 7]. Judge Seltzer issued a Report and Recommendation (the

  “Summary Judgment Report”) recommending that the Court grant in part Plaintiff’s Motion for

  Summary Judgment [ECF No.32]. Judge Seltzer also issued a Report and Recommendation (the

  “Stay Report”) recommending that the Court deny Defendant’s Motion to Stay Proceedings [ECF

  No. 47]. Defendant has timely objected to the Summary Judgment Report and the Stay Report.

  [ECF Nos. 35, 48].

         A district court may accept, reject, or modify a magistrate judge’s report and recommen-

  dation. 28 U.S.C. § 636(b)(1). Those portions of the report and recommendation to which objection

  is made are accorded de novo review, if those objections “pinpoint the specific findings that the

  party disagrees with.” United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009); see also Fed.
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  R. Civ. P. 72(b)(3). Any portions of the report and recommendation to which no specific objection

  is made are reviewed only for clear error. Liberty Am. Ins. Grp., Inc. v. WestPoint Underwriters,

  L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001); accord Macort v. Prem, Inc., 208 F. App’x

  781, 784 (11th Cir. 2006).

           The Court, having conducted a de novo review of the record, agrees with Judge Seltzer’s

  recommendation that summary judgment as to liability under the Subcontractor Payment Bond

  should be granted and that Defendant’s request for a stay should be denied. Defendant’s liability

  under the Subcontractor Payment Bond is not contingent on Plaintiff fulfilling its obligations under

  the Subcontract. 1 See Fisk Elec. Co. v. Travelers, No. 08-23210, 2009 WL 196032, * 3 (S.D. Fla.

  Jan. 23, 2009) (“A claim by a [contractor] for payment under a surety payment bond is distinguish-

  able from a breach of contract claim, given that a surety payment bond creates rights and obliga-

  tions independent of the underlying agreement for which the bond ensures payment.”); Frontier

  Ins. Co. v. M.C. Mgmt., No. 3:06-CV-597-H, 2009 WL 1374544, *3 (W.D. Ky. May 15, 2009)

  (holding that payment bond was not conditioned upon owner fulfilling obligation under construc-

  tion contract). However, due to disputed issues of fact regarding the amounts of the lower-tier

  subcontractor’s claims and whether Plaintiff has already paid those claims, the Court finds that

  summary judgment as to damages must be denied without prejudice. These factual disputes are

  best resolved after the parties have completed discovery. 2




  1
            Because this action can be resolved without first resolving Plaintiff’s liability under the Subcontract, the
  Court finds a stay pending resolution of the state court action is not warranted.
  2
            Indeed, Defendant discovered discrepancies in Plaintiff’s Statement of Undisputed Facts after Plaintiff had
  filed its Motion for Summary Judgment.

                                                            2
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        Accordingly, after careful consideration, it is ORDERED AND ADJUDGED as follows:

        (1)   Magistrate Judge Seltzer’s Summary Judgment Report [ECF No. 32] is ADOPTED

              in part and Magistrate Judge Seltzer’s Stay Report [ECF No. 47] is ADOPTED in

              full;

        (2)   Plaintiff’s Motion for Summary Judgment is GRANTED as to liability and

              DENIED without prejudice as to damages;

        (3)   Defendant’s Motion to Stay Proceedings Pending Disposition of Parallel State

              Court Proceedings [ECF No. 39] is DENIED.

        DONE AND ORDERED in Chambers at Miami, Florida, this 25th day of March, 2019.




                                          ________________________________
                                          DARRIN P. GAYLES
                                          UNITED STATES DISTRICT JUDGE




                                             3
